Case 8:19-cv-02109-JVS-ADS Document 57 Filed 11/14/19 Page 1 of 3 Page ID #:3064



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   6 Attorneys for Temporary Receiver,
     Thomas W. McNamara
   7
   8                     UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
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  11 FEDERAL TRADE COMMISSION,                 Case No. 8:19-cv-02109-JVS (ADSx)
  12                    Plaintiff,             NOTICE OF PRELIMINARY
                                               REPORT OF TEMPORARY
  13        v.                                 RECEIVER
  14 AMERICAN FINANCIAL SUPPORT                JUDGE:     Hon. James V. Selna
     SERVICES INC., et al.,                    CTRM:      10C
  15
                     Defendants,
  16
     MJ WEALTH SOLUTIONS, LLC,
  17
                     Relief Defendant.
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                                                  Case No. 8:19-cv-02109-JVS (ADSx)
                         NOTICE OF PRELIMINARY REPORT OF TEMPORARY RECEIVER
Case 8:19-cv-02109-JVS-ADS Document 57 Filed 11/14/19 Page 2 of 3 Page ID #:3065



   1        TO THE HONORABLE JAMES V. SELNA, UNITED STATES
   2 DISTRICT COURT JUDGE, AND TO ALL PARTIES AND THEIR
   3 ATTORNEYS OF RECORD:
   4        Thomas W. McNamara (“Receiver”), the Court-appointed Temporary
   5 Receiver in this case, hereby submits his Preliminary Report setting forth the
   6 Receiver’s activities, observations, and findings since the entry of the Ex Parte
   7 Temporary Restraining Order with Asset Freeze, and Appointment of a Temporary
   8 Receiver. The Preliminary Report, attached hereto as Exhibit A.
   9 Dated: November 14, 2019                MCNAMARA SMITH LLP
  10                                         By: /s/ Edward Chang
                                               Edward Chang
  11                                           Attorneys for Temporary Receiver,
                                               Thomas W. McNamara
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                           NOTICE OF PRELIMINARY REPORT OF TEMPORARY RECEIVER
Case 8:19-cv-02109-JVS-ADS Document 57 Filed 11/14/19 Page 3 of 3 Page ID #:3066



   1                            CERTIFICATE OF SERVICE
   2         I hereby certify that on the 14th day of November, 2019, I caused the
   3 foregoing to be electronically filed with the Clerk of the Court using the CM/ECF
   4 system, which will send notification of the filing to all participants in the case who
   5 are registered CM/ECF users.
   6
   7  /s/ Edward Chang
     Edward Chang
   8 Attorney for Temporary Receiver,
     Thomas W. McNamara
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                                                                 CERTIFICATE OF SERVICE
